                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION

UNITED STATES OF AMERICA ex rel.               )
JEFFREY H. LIEBMAN and DAVID M.                )
STERN, M.D.                                    )
                                               )        Case No. 3:17-CV-00902
Plaintiff,                                     )
                                               )        District Judge William L.
v.                                             )        Campbell, Jr.
                                               )
METHODIST LE BONHEUR                           )        Magistrate Judge Barbara D.
HEALTHCARE, METHODIST                          )        Holmes
HEALTHCARE-MEMPHIS HOSPITALS,                  )
                                               )
                                               )
Defendants.                                    )


     DEFENDANTS’ REPLY MEMORANDUM IN SUPPORT OF MOTION FOR
                       SUMMARY JUDGMENT

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I.     INTRODUCTION

       The government must present concrete admissible evidence to establish a triable issue of

fact as to False Claims Act (“FCA”) causation, falsity, and scienter, but fails to present any such

evidence as to any of these elements.

       As to causation, notwithstanding that this litigation is in its sixth year, that the

government’s complaint is the fifth iteration of alleged facts, and that Methodist has responded to

more than 70 document requests and interrogatories from the government, responded to more than

180 document requests from Relators and produced more than 180,000 pages of documents (see

Dkt. No. 341 at 2, describing productions), the government does not satisfy this circuit’s but-for

causation standard because the government points to no evidence of any link between a specific

physician (or any subset of physicians or list of sampled physicians) and a specific kickback that

that physician allegedly received, and then to a specific referral that resulted from the specific

kickback. The government does not establish what compensation was paid to any specific West

physician, whether the compensation paid to that physician exceeded fair market value (“FMV”),

or whether any referrals from that physician resulted from improper payments.

       As to falsity, the government does not present any summary judgment evidence that

Methodist made any false certification of compliance with the Anti-Kickback Statute (“AKS”)

because (i) there was no violation under the AKS because the only undisputed summary judgment

evidence is that all payments were at FMV and hence, as a matter of law, were not remuneration

under the AKS and (ii) Methodist’s opinion that it complied with the AKS was not objectively

false because it was founded upon its belief that it complied with the law based upon obtaining

contemporaneous opinions from experts, and all that exists ultimately is a disagreement among

testifying experts regarding whether contemporaneous FMV methodologies were sound.




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       As to knowledge, the government does not submit concrete evidence showing that any

person at Methodist knowingly and willfully, at any point in time, through specific conduct sought

to, or actually did pay, a kickback to any individual at West. Therefore, the Court should grant

Methodist’s summary judgment motion.

II.    THE GOVERNMENT DOES NOT ESTABLISH FCA / AKS CAUSATION

       The government contends that it has satisfied this circuit’s but-for causation standard because

the but-for causation rule enacted in 2010 does not apply to what is undisputedly post-2010 conduct.

(See Dkt. No. 345 at 18.) The government’s position conflicts with the plain language of the statute

and controlling Sixth Circuit precedent. The government raised this position previously before the

Sixth Circuit, and the Sixth Circuit rejected it. Because the government cannot demonstrate but-for

causation with any non-speculative summary judgment evidence, its action should be dismissed.

       A.      The Government Must Satisfy the But-For Causation Standard

       The government contends that it does not need to establish but-for causation because it can

simply establish “an FCA violation predicated on kickbacks” based upon “the well-established

FCA caselaw that existed before the 2010 Amendments to the AKS[.]” (Id. at 18.) This position

is inconsistent with the AKS’s plain language and controlling Sixth Circuit precedent. Moreover,

the government raised this very argument in Martin, and the Sixth Circuit rejected it.

       First, the AKS’s causation standard provides the only means to establish an AKS violation

in an FCA action. In 2010, Congress amended the AKS to define precisely when an AKS violation

could result in a “false or fraudulent” claim under the FCA. 42 U.S.C. § 1320a-7b(g). The AKS

provides that “a claim that includes items or services resulting from a violation of [the AKS]

constitutes a false or fraudulent claim for purposes of [the FCA].” Id. (emphasis added). As the

Sixth Circuit recently observed, “[w]hen it comes to violations of the [AKS], only submitted claims

‘resulting from’ the violation are covered by the [FCA]” and the “ordinary meaning of ‘resulting


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from’ is but-for causation.” U.S. ex rel. Martin v. Hathaway, 63 F.4th 1043 (6th Cir. 2023). That

is, § 1320a-7b(g) provides the exclusive means to establish an AKS violation under the FCA.

There is no alternative statutory provision that defines when claims are “false or fraudulent” under

the FCA when alleging an AKS violation.

        Second, in Martin, the Sixth Circuit expressly rejected this very argument now urged by

the government that pre-2010 false certification case law meant that plaintiffs alleging an AKS

violation in an FCA case could dispense with establishing a causal link:

        The government argued that several pre-2010 false certification cases did not
        require a causal link between the kickback scheme and the claim presented. As the
        government saw it, the 2010 statutory amendment had “simply codified” the
        holdings of those cases. [U.S. ex rel. Cairns v. D.S. Med. LLC, 42 F.4th 828, 836]
        (quotation omitted). The Eighth Circuit responded that Congress could have
        codified those cases by using language that did so. Id. “[T]ainted by” or “provided
        in violation of,” for example, would have set out an alternative causation standard.
        Id. But Congress used “resulting from,” an "unambiguously causal" standard even
        in the face of these pre-amendment cases. Id. Where a statute “yields a clear
        answer, judges must stop.” Food Mktg. Inst. v. Argus Leader Media, …139 S. Ct.
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        2356, 2364, 204 L.Ed.2d 742 (2019).

        B.     The Government Has Not Satisfied this Circuit’s But-For Causation Test

        As a back-up plan, the government asserts that the but-for standard applied in Martin is

satisfied because in Martin, “the alleged scheme did not change anything”; thus, the government

reasons, as long as it shows that something did change, it satisfies but-for causation. (See Dkt. No.

345 at 22-23.) That argument misinterprets the but-for standard, and the Sixth Circuit has



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 Id. at 1053. In its amicus brief, the government noted that FCA liability could be found multiple
ways, including, as the government asserts here, through a false certification theory. See Brief of
Amicus Department of Justice (“Amicus Br.”) at 4, Martin, 63 F.4th. at 1052. But the Sixth Circuit
ruled that when it comes to the AKS, only submitted claims resulting from the violation are
covered by the FCA. Martin, 63 F.4th at 1052. Thus, the government is wrong that this issue was
not addressed in Martin. To the extent the government relies on the out-of-district unpublished
district court case in United States v. Cameron-Ehlen Grp. Inc., 2023 WL 36174, at *3 (D. Minn.
Jan. 4, 2023), that decision is inconsistent with the plain language of the statute and with Martin.


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expressly rejected it. Under Supreme Court and Sixth Circuit precedent, the government must

provide concrete, non-speculative summary judgment evidence that the physician referral occurred

because of—i.e., resulted from—the payment of the kickback. See Burrage v. United States, 571

U.S. 204, 210-11 (2014); Martin, 63 F.4th at 1053-54. As Martin makes clear, Congress, in

selecting the “resulting from” mandate, worked from “the backdrop of a handful of cases that

observed similar language as requiring but-for causation.” Martin, 63 F.4th at 1052. “[T]he phrase

‘results from’ is not ambiguous.” United States v. Jeffries, 958 F.3d 517, 521 (6th Cir. 2020). In

Burrage, the Court held that to demonstrate that one thing “results from” another “requires proof

that the harm would not have occurred [i.e., presentation of a false claim] in the absence of—that

is, but for—the defendant’s conduct [i.e., payment of a kickback].” 571 U.S. at 211 (internal

citation and quotation marks omitted); see also Cairns, 42 F.4th at 834 (holding that “the

government had to prove here that the defendants would not have included particular ‘items or

services’ absent the illegal kickbacks,” and that but-for causation “is an ‘essential element’ [of

AKS / FCA liability] that must be proven, not presumed”).

       In adopting this standard, the Sixth Circuit held that even at the pleading stage, a plaintiff

must allege sufficient facts anchoring, in time and place, the specific referral to the specific

kickback. 63 F.4th at 1053-54. To determine whether the plaintiff could satisfy but-for causation,

the Sixth Circuit examined, on a claim-by-claim basis, each of 14 different referrals that the

plaintiff contended violated the AKS. In examining the plaintiff’s allegation that a physician made

an unlawful referral because it was made seven months after the alleged unlawful agreement, the

Sixth Circuit ruled that the plaintiff could not establish but-for causation because mere “[t]emporal

proximity by itself does not show causation,” and there was no “identifiable exchange of value”

between the hospital and the specific physician “to anchor the scheme in time or place.” Id.




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        Methodist, in its summary judgment motion, identified testimony from three West

physicians whom the government deposed and five West physicians who provided declarations,

who provided bona fide, detailed explanations for why they increased referrals to Methodist during

the time the parties operated a cancer center. (See Dkt. No. 321 at 18 – 21.) They uniformly

testified that they referred patients to Methodist (or other hospitals) based on the patients’ best

interests and that no payment from Methodist to West influenced any referral decisions. (Id.) In

its opposition, the government does not rebut the physicians’ testimony with any contrary

evidence. (See, e.g., Dkt. No. 346, United States’ Resp. to Statement of Undisputed Material Fact

¶ 179). The government offers no proof from any other West physician or witness that any referral

from any physician resulted from a kickback. Instead, the most the government can do is identify

a provision of the PSA that West physicians “shall use their best efforts to utilize” Methodist

services for patient treatment and to argue this is an “explicit causal link to the referrals.” (Dkt.

No. 345 at 24.) This in no way establishes causation. Such “direct referral” provisions in PSAs
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are permitted by law. Moreover, the government never bothered to ask any Methodist or West

witness about this contractual provision, so it developed no evidence regarding how the provision

was implemented or enforced, even though it argues the parties routinely disregarded their

contractual obligations.

        Further, aside from not satisfying Martin’s standard, the government’s assertions actually

disprove but-for causation, not support it. The government contends it has demonstrated causation

because West’s referrals to Methodist rose during the affiliation then dropped after it ended, and



2
  Rather than being unlawful, or even wrongful, directed referrals are permitted by law regarding
PSAs. See 42 C.F.R. § 411.354(d)(4). As forecasted here, one can easily, and lawfully, anticipate
that revenue will increase as a result of entering into lawful PSAs. Rather than constituting proof
of unlawful behavior, it is simply proof of lawful and appropriate behavior.


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certain West providers increased referrals to Methodist while decreasing referrals to Baptist. (See

Dkt. No. 345 at 24.) This contention is based solely on an analysis that found that only eight of

86 West physicians increased referrals to Methodist while decreasing referrals to Baptist. (See

Dkt. No. 347 ¶¶ 9, 11.) This analysis, involving fewer than 10% of West’s physicians, in fact

undermines the entire premise of the government’s causation argument and further illustrates why
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the Court should grant Methodist’s motion.

         The government knows exactly what but-for causation requires under the AKS/FCA. In

Martin, the government urged the Sixth Circuit not to adopt the but-for causation standard because

if courts applied such a standard, it “would significantly complicate the litigation of FCA cases

based on AKS violations, requiring extensive efforts to disentangle the motivations of treating

physicians (who may not even be among the defendants) for every treatment decision or referral

at issue (often numbering in the hundreds or thousands).” Amicus Br. at 22 (emphasis added).

That has now come to fruition.         But here, the government never even attempted any

“disentangling” that it, itself, understood would be required were the Sixth Circuit to (as it did)
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adopt a but-for causation standard. In short, the government’s case is a complete failure of proof.


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  Although this analysis actually supports Methodist’s motion, there are two reasons the Court
should give it no weight. First, the analysis was submitted as part of Michael Petron’s declaration,
but, as is set forth in a motion to exclude, the government failed to disclose Petron as an expert
and provided no evidentiary foundation for the Medicare claims data Petron purports to analyze.
Second, it asks the Court to infer causation based solely on the fact that some West physicians
made referrals after West entered into an affiliation with Methodist. But causation “must be
proven, not presumed.” Cairns, 42 F.4th at 835. Martin expressly rejected that a referral made
after an agreement is entered is sufficient to prove but-for causation. See 63 F.4th at 1053-54.
4
  Recognizing that its assertion that all physician referrals were the but-for cause of kickbacks is
nothing more than rank speculation, the government argues Methodist is wrong to state that the
government’s case cannot depend on speculation. (See Dkt. No. 345 at 24.) But this circuit has
consistently required plaintiffs to establish the entire causal chain constituting an FCA violation,
from the alleged violation to the actual claim, through non-speculative facts—even at the pleading
stage, let alone at summary judgment after years of discovery. See U.S. ex rel. Ibanez v. Bristol-

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III.    THE GOVERNMENT DOES NOT ESTABLISH FCA FALSITY

        The only admissible evidence is that during the arrangement, Methodist and West

exchanged FMV. (See Dkt. No. 321 at 24.) Because, under the AKS, FMV payments are not

remuneration, there is no AKS violation, and, hence, no FCA violation as a matter of law. But

even if remuneration were paid, there is no FCA falsity because Methodist had a reasonable

opinion that the arrangement was FMV and thus did not submit any objectively false certification.

        A.      The Government Does Not Establish the Payment of AKS Remuneration

        The government does not submit any admissible evidence that remuneration was paid. As

Methodist previously noted, the Sixth Circuit has twice stated that one of the reasons remuneration in

the AKS is limited to “transfers . . . for free or for other than fair market value” is because that is how

a related civil statute, the Civil Monetary Penalty Law (“CMPL”), 42 U.S.C. § 1320a-7a(i)(6), defines

remuneration. (See Dkt. No. 321 at 11.) Applying this definition, Methodist pointed out that it must

prevail because the only undisputed evidence is that the payments made under the arrangements were

FMV, even taking into account perceived errors, which Methodist denies. (See id. at 24.)

        But the government contends that Martin, which specifically rejected the government’s

proffered definition of remuneration, somehow, sub silentio, reversed the Sixth Circuit’s

statements in Miller and Jones-McNamara v. Holzer Health Sys., 630 F. App’x 394 (6th Cir. 2015),

regarding the meaning of remuneration. The government states that in Martin, “the Sixth Circuit

did not hold that the CMPL definition of remuneration applies to the AKS, and the Court instead

held that ‘remuneration’ under the AKS covers ‘payments and other transfers of value.’” (Dkt.




Meyers Squibb Co., 874 F.3d 905, 914 (6th Cir. 2017) (“Rule 9(b) requires relators to adequately
allege the entire chain—from start to finish—to fairly show defendants caused false claims to be
filed”); Miller v. Abbott Labs., 648 F. App’x 555, 562 (6th Cir. 2016) (finding when FCA suit
alleges AKS violation, allegedly false claims must be “link[ed]” to the asserted kickback).


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No. 345 at 11-12.) The government’s conclusion is mistaken. The Sixth Circuit’s express holding

in Martin did not directly address whether FMV payments are remuneration, but, given that the

Sixth Circuit applied the same statutory analysis as it had in Miller and Jones-McNamara, its

analysis in Martin indicates that it would in fact reach the same conclusion that remuneration does

not include FMV payments.

         First, the common denominator in circuit court decisions regarding this issue is that they

use the definition of the AKS’s statutory “cousin,” the CMPL, to interpret what “remuneration”

means. Specifically, the Eleventh Circuit in Bingham v. HCA, Inc., 783 F. App’x 868 (11th Cir.

2019), and this circuit in Miller and Jones-McNamara have looked to the CMPL’s definition of

remuneration—that it includes “transfers of items or services for free or for other than fair market

value,” 42 U.S.C. § 1320a-7a(i)(6) (emphasis added)—and applied that same definition of

remuneration under the AKS. In Martin, the Sixth Circuit did precisely the same thing. It looked

to the CMPL’s definition of remuneration, which expressly includes the word “transfers,” in

concluding that remuneration under the AKS requires transfers of value. There is no reason to

believe that the Sixth Circuit used the first part of the CMPL definition but would have rejected

using the remaining portion—“. . . for free or for other than fair market value”—to interpret
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remuneration under the AKS. See Martin, 63 F.4th at 1049. As Methodist pointed out, this Court



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  The Sixth Circuit’s overt reliance on 42 U.S.C. § 1320a-7a(i)(6) to construe “remuneration” under
the AKS, its statutory cousin, was not done blindly or in error. In its amicus brief in Martin, the
government expressly informed the Sixth Circuit that it believed the panels in Miller and Jones-
McNamara committed “error” in construing the scope of remuneration in the AKS based upon the
CMPL definition. See Amicus Br. at 12 & n.1. Yet the Sixth Circuit then proceeded to do exactly
what the government characterized as “error”: using the CMPL statutory definition to construe
“remuneration” under the AKS. The court should do the same as the Sixth Circuit did in Miller,
Jones-McNamara, and Martin here in construing the meaning of remuneration in the AKS.
Because remuneration is “transfers . . . for free or for other than fair market value,” the court should
dismiss the government’s complaint for failure to show any non-FMV payments were made.


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should do exactly as the Sixth Circuit did in Martin, Miller, and Jones-McNamara: use the

definition of “remuneration” at 42 U.S.C. § 1320a-7a(i)(6) to construe “remuneration” for purposes

of the criminal AKS. It is extremely implausible that Congress intended to create a lower threshold

for proving remuneration under the criminal AKS than under the civil CMPL. And it is imminently

reasonable that paying a doctor FMV does not provide the basis for a criminal kickback scheme.

This action should be dismissed because the only summary judgment evidence is that FMV was

paid. (See Dkt. No. 321 at 24.)

       Although the government argues it is not required to show payments from Methodist to

West were not FMV, it submits that there is still “ample evidence” by which “a reasonable jury

could conclude that the value of Methodist’s payments to West exceeded FMV.” (Dkt. No. 345

at 14.) The government’s primary argument is that the contemporaneous valuations obtained by

Methodist and West at the time of the arrangement are not reliable because the valuations were

based on erroneous assumptions and were the product of opinion shopping, and that the parties’

agreements were not implemented consistently with the opinions. (Id. at 14–15.)

       The fatal flaw in the government’s rationale is that questioning the reliability of FMV

opinions does not constitute affirmative proof that any payments made were not FMV. If a hospital

agreed to pay a doctor $100 for services, questioning the validity of the hospital’s FMV opinion

would not constitute evidence that $100 was above FMV. The government would need evidence

of what services the doctor performed and what FMV was for those services. The government

offers no such proof here. Although the government retained Tim Smith, a valuation expert, he

expressly disclaimed that he was providing any FMV opinion. (See Dkt. No. 346 ¶ 211). Smith

criticized the contemporaneous opinions Methodist obtained, but he did not determine what FMV

should have been. (Id.) Indeed, neither the FCA nor AKS requires FMV opinions at all.




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         For the MSA, Methodist supports its motion by identifying voluminous evidence of the

specific management services West provided and the outcomes attained through those services.

The government argues that this proof is not relevant but does not otherwise rebut it because it

cannot. The government notes that Methodist paid West $24,689,770 over the MSA’s seven-year

term, but offers no proof— through testimony, documents, or otherwise—that the FMV of those

services was some amount lower than what Methodist paid. Similarly, with the PSA, Smith

conducted no analysis and provided no testimony about what the FMV of those services was or

that Methodist paid West an amount lower than FMV.

         On the other hand, Methodist’s expert Todd Mello conducted a retrospective analysis

concluding that the amounts Methodist paid to West were FMV. (Dkt. No. 322 ¶¶ 46-47.) The

government makes conclusory claims that Mello “failed to consider all the known information”

and “provided meaningless opinions,” (Dkt. No. 345 at 14), but the government chose not to offer

its own expert to rebut Mello’s testimony. The government cites Kuzma v. Northern Arizona

Healthcare Corp., 607 F. Supp. 3d 942, 948 (D. Ariz. 2022), for the proposition that having Smith

criticize the underlying FMV opinions is enough to prevent summary judgment. Not so. Even in

this out-of-circuit case applying a different legal standard than what controls here, the court still

found that the relator/CFO had put forward a competing valuation that constituted some
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affirmative proof on the plaintiff’s part. On the record before the Court here, the government has
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offered no countervailing proof as to FMV. (Dkt. No. 346 ¶ 211 (acknowledging that “the United


6
 The Arizona district court in Kuzma was applying a standard from a 20-year-old Northern District
of Illinois decision, which, unlike the standard articulated by the Eleventh Circuit in 2019, did not
place the burden of proof for FMV on the plaintiff. Compare Kuzma, 607 F. Supp. 3d at 947–49,
with Bingham, 783 F. App’x at 873.
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  Finally, to the extent the government seeks to avoid summary judgment by raising
unsubstantiated allegations about Methodist not charging West rent, not recouping “meaningful


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States did not put forth any opinion on what the fair market value would be for the services under

the various agreements”).

         B.     The Government Does Not Establish an Objective Falsehood

         Even if the Court were to find that FMV payments are remuneration under the AKS, the

government’s complaint should be dismissed because Methodist’s opinion that its practices

complied with law—based upon the work of FMV consultants—is not objectively false.

         As Methodist pointed out, statements of opinion—such as that the arrangement complies

with the AKS because every component was within FMV—are not actionable under the FCA

because the FCA applies only to objective falsehoods. (See Dkt. No. 321 at 29 (citing five circuit

opinions)). While the government never conducted a retrospective FMV analysis, even if all that

existed were a debate between the government’s expert, Smith, who believes the FMV experts

used flawed methodologies, and Methodist’s expert, Mello, who concluded these methodologies

were reasonable, there is no FCA liability because reasonable disagreement among experts does

not constitute fraud. Id.

         The government, without citing contrary circuit authority, argues that these five circuit

courts’ rulings should be ignored because the Sixth Circuit has not yet addressed the issue and
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because none of them concerned the AKS.           (See Dkt. No. 345 at 17.) These courts’ uniform


use” payments, allowing West to hold itself out as West Cancer Center, or paying for employees
who also did work for West, these allegations fail. First, as noted, the only summary judgment
evidence is that even taking into account perceived errors, all payments were at FMV. (See Dkt.
No. 321 at 24.) Second, in any event, the government has not, at the summary judgment stage,
developed specific proof with competent evidence to support any of these contentions. See
Emerson v. Novartis Pharms. Corp., 446 F. App’x 733, 736 (6th Cir. 2011) (“A district court is
not required to search the entire record to establish that it is bereft of a genuine issue of material
fact. Judges are not like pigs, hunting for truffles that might be buried in the record.”) (citations
omitted). As such, it has failed to carry its burden of proof, and its claims should be dismissed.
8
 Oddly, citing U.S. ex rel. Odom v. Southeast Eye Specialists, PLLC (“SEES”), 570 F. Supp. 3d
561, 575 (M.D. Tenn. 2021), the government seems to indicate that the objective falsity doctrine


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reasoning correctly defines the scope of what constitutes fraud based on common law principles
                             9
that the FCA incorporates.       The government is wrong that a court would be less inclined to apply

objective falsity in an AKS action. Indeed, as found in Martin, a court would be more inclined to

apply it to a criminal statute because of the principle of lenity. See 63 F.4th at 1050.

IV.      THE GOVERNMENT HAS NOT ESTABLISHED FCA / AKS SCIENTER

         There is insufficient summary judgment evidence to find Methodist acted knowingly and

willfully because the government’s assertions do not satisfy the AKS’s knowing and willful element
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based on the summary judgment record.

         To establish that an AKS defendant acted knowingly and willfully, the government must show

the defendant knew that its conduct was wrongful. (See Dkt. No. 321 at 32 (citing cases).) The

government does not set forth any evidence creating a genuine dispute of fact that anyone at Methodist

engaged in knowing and willful misconduct. Indeed, the only evidence the government points to is



cannot apply because the government is pursuing a “legally false” express false certification theory
(i.e., Methodist allegedly falsely certified compliance with the AKS when, allegedly, it did not
comply with the AKS). (See Dkt. No. 345 at 17.) But there is no such exception to the doctrine.
Courts have applied the doctrine when what is alleged, like here, is the submission of a false
certification. See, e.g., Bell v. Cross, 2021 WL 5544685 (11th Cir. Nov. 26, 2021); United States
v. AseraCare, Inc., 938 F.3d 1278 (11th Cir. 2019). There is nothing in SEES stating otherwise.
9
   See, e.g., AseraCare, 938 F.3d at 1297 (applying common law principles regarding when
statements of opinion may be false).
10
   In Methodist’s initial brief, Methodist invoked the FCA’s reasonable interpretation of
ambiguous law doctrine as a defense. Specifically, Methodist raised this argument at Dkt. No.
321, in three paragraphs, starting with the second full paragraph at page 30, but excluding note 17.
Based upon the Supreme Court’s ruling in U.S. ex rel. Schutte v. Supervalu Inc., No. 21-1326 (June
1, 2023), Methodist withdraws the argument in these three paragraphs exclusive of note 17. The
Supreme Court’s decision impacts solely this issue. See id. at 7-8 (underscoring that the issue the
Court reviewed raised “one discrete legal issue” and the Court resolves “only that issue,” which
was that defendants could have the scienter required by the FCA if they correctly interpreted the
relevant standard and knew their claims were false). The Court’s resolution of this narrow issue
does not impact any other argument Methodist raised, each of which separately results in the
dismissal of the government’s action.


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permitted under the law, and hence the government fails to set forth sufficient evidence to establish
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that Methodist acted knowingly and willfully.

       The government asserts that it creates a genuine issue of material fact as to FCA/AKS

scienter because: (i) “one purpose” of the affiliation was to induce referrals from West to

Methodist for inpatient and outpatient services through the conversion of West’s outpatient

locations to Methodist outpatient departments; (ii) the parties sought to achieve cost savings

through the 340B Discount Drug Program; (iii) some West physicians were paid above the 90th

percentile; and (iv) West tracked patient referrals. (See Dkt. No. 345 at 28-29.)

       But, far from describing criminal conduct, each of these alleged acts have been found in

public pronouncements to be consistent with law. First, as noted, entering into a PSA and directing

referrals is anticipated and encouraged by law; it therefore cannot constitute a violation of law.

See 42 C.F.R. § 411.354(d)(4). Second, as the Supreme Court has stated, the 340B program was

intended to benefit hospitals like Methodist that perform valuable services for low-income

beneficiaries and have to rely on limited federal funding, and, as 340B hospitals have pointed out,

Congress expressly intended for 340B discounts to subsidize other services provided by 340B

hospitals, including cancer treatment. See AHA v. Becerra, 142 S.Ct. 1896, 1901 (2022). Third,

as a district court in this circuit has recognized, there is nothing unlawful about physicians being
                                     12
paid at or above the 90th percentile, and the government has not tendered any FMV analysis at


11
   Even at the pleading stage, let alone at summary judgment, courts routinely rule that if there is
an alternative lawful explanation for defendant’s behavior and plaintiff does not offer something
more to exclude the possibility that the alternative explanation is true, plaintiff does not state a
plausible claim for relief under the FCA. See, e.g., U.S. ex rel. Sibley v. Univ. of Chi. Med. Ctr.,
44 F.4th 646, 660 (7th Cir. 2022) (affirming dismissal when plaintiff’s complaint pleads facts
“merely consistent with” defendant’s FCA liability).
12
   See, e.g., U.S. ex rel. Villafane v. Solinger, 543 F. Supp. 2d 678, 691-92 (W.D. Ky. 2008)
(rejecting relator’s contention that payment at 90th percentile and 75th percentile were inherently
above FMV and hence violated the Stark law requiring FMV payments, noting that each doctor


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summary judgment demonstrating that any particular West physician received an above-FMV

payment for services furnished under the PSA. To the contrary, the only FMV analysis in the

record reveals that West earned less under the PSA than it had been earning in independent practice

prior to the affiliation. (Dkt. No. 322 ¶ 47.) Fourth, as other district courts have ruled, there is

nothing criminal about health care providers tracking referrals; indeed, far from being a crime, as
                                                            13
the government asserts, this is a prudent business practice.

       The government also argues that there is evidence of knowing and willful scienter because

of “Methodist’s knowledge of the AKS, manipulation of fair market value opinions, disregard for

contractual obligations, letting West decide performance incentives, and failing to do any real

compliance surrounding the deal.” None of these allegations constitutes proof of scienter. First,

the government provides no specific factual citations regarding “Methodist’s knowledge of the

AKS” nor explains what this means. Second, although the government’s expert did identify

alleged errors in FMV opinions, the government cites to no testimony or evidence that Methodist

“manipulated” the opinions or knew of the errors. Third, the government does not indicate how




“appears to be highly qualified and arguably at or near the top of his profession” and that relator’s
expert’s findings “suggest only that Defendant physicians were paid at a level consistent with their
abilities, not that they were paid at an unreasonably high level”).
13
  Courts commonly reject the government’s notion that a mere desire to increase volume somehow
equates to a violation of the AKS. See e.g., United States v. Holland, at 31 (N.D. Ga. Nov. 17,
2022) (previously filed at Dkt. No. 301-1). In Holland, the court observed that it “agrees with
Defendants that discussions of patient volume do not demonstrate a willful violation of the
AKS.” Id. at 30. Indeed, as the court pointed out, it is “common sense that a hospital administrator
would want to know how many patients are likely to show up at a hospital on a given day (or over
a given period) for numerous reasons that have nothing to do violating the AKS.” Id. at 30. The
court concluded that “hospital administrators have ample, legal reasons to monitor patient volume,
and as a result the discussions, standing alone, do not establish that payments under the agreements
were for something more than the value of the services provided.” Id. at 31. The court observed
that standing alone the fact that defendants “have asked—or even badgered—the [clinic] to refer
more patients is not an AKS violation.” Id. at 32.


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disregarding contractual obligations or allowing West to set performance incentives, which are not

supported by competent evidence, would constitute knowledge of an AKS violation. Fourth, the

government does not identify any compliance function required by law that Methodist failed to

perform or indicate how not performing compliance amounted to a knowing violation of the AKS.

       Finally, the government has failed to show that Methodist, through any authorized

employee, knowingly and willfully violated the AKS.         The government argues that it has

established vicarious liability under the FCA through Methodist’s “top officers and employees like

the CEO and CFO.” (Dkt. No. 345 at 32.) Relators had alleged that Methodist’s former CEO,

Gary Shorb, and former CFO, Chris McLean, violated the AKS in prior versions of the complaint.

However, when the government intervened, it dropped all claims against Shorb and McLean. The

government’s opposition brief makes no mention of Shorb, and, thus, no actions or knowledge on

his part can establish scienter as to Methodist. As to McLean, the government notes that Relator

Stern states that McLean told him that Methodist chose to partner with West in order to direct

patients away from Baptist, McLean received referral tracking information from West in 2012,

and McLean forecast that the deal could bring $120 million in revenues from West’s referrals. (Id.

at 6.) Again, none of these contentions are sufficient to establish proof that Methodist knowingly

and willfully violated the law from 2012-18.

       Even assuming the government’s facts were accurate, the government lacks sufficient

summary judgment evidence to assert that Methodist acted with AKS scienter. Therefore,

Methodist did not violate the FCA because it did not falsely certify compliance with the AKS.

V.     CONCLUSION

       For the foregoing reasons, Methodist’s summary judgment motion should be granted.




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Dated: June 2, 2023.

                                   Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and exact copy of the foregoing has been served on the following
counsel via the Court’s CM/ECF email notification system on this the 2nd day of June, 2023:

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